           Case 1:22-cv-10904-JSR Document 226 Filed 07/24/23 Page 1 of 9




                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF NEW YORK

 GOVERNMENT OF THE UNITED
 STATES VIRGIN ISLANDS,

                          Plaintiff,

 v.
                                                      Case No. 22-cv-10904 (JSR)
 JPMORGAN CHASE BANK, N.A.,

                          Defendant/Third-Party
                          Plaintiff.

 JPMORGAN CHASE BANK, N.A.,

 Third-Party Plaintiff,

 v.

 JAMES EDWARD STALEY,

 Third-Party Defendant.


      DECLARATION OF FELICIA H. ELLSWORTH IN SUPPORT OF JPMORGAN
        CHASE BANK, N.A.’s MOTION FOR PARTIAL SUMMARY JUDGMENT

Pursuant to 28 U.S.C. § 1746, I, Felicia H. Ellsworth, declare under penalty of perjury as

follows:

 1.     I am a member in good standing of the bar of the Commonwealth of Massachusetts. I am

        one of the attorneys representing Defendant JPMorgan Chase Bank, N.A. (“JPMC”) in

        the above-captioned action and have been admitted to this Court pro hac vice. I am a

        Partner with the law firm of Wilmer Cutler Pickering Hale and Dorr LLP, 60 State Street,

        Boston, Massachusetts 02109. I am familiar with the facts set forth herein, and if called

        as a witness, I could and would competently testify thereto.




                                                  1
      Case 1:22-cv-10904-JSR Document 226 Filed 07/24/23 Page 2 of 9




2.   Attached as Exhibit 1 is a true and correct copy of an article titled “Epstein’s Island,

     ‘Little St. Jeff’s’: A Hideaway Where Money Bought Influence,” dated August 28, 2019,

     available at https://www.nytimes.com/2019/08/28/business/jeffrey-epstein-island.html.

3.   Attached as Exhibit 2 is a true and correct copy of a document produced by Jane Doe 1 in

     the related case captioned Doe 1 v. JPMorgan Chase Bank, N.A., No. 1:22-cv-10019-JSR

     (S.D.N.Y.), Bates stamped JDoe_JPMC_004576, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

4.   Attached as Exhibit 3 is a true and correct copy of the November 2020 Department of

     Justice, Office of Professional Responsibility Report.

5.   Attached as Exhibit 4 is a true and correct copy of excerpts of the transcript from the July

     7, 2023 Deposition of Jean-Pierre Oriol, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

6.   Attached as Exhibit 5 is a true and correct copy of a document produced by Jane Doe 1 in

     the case captioned Doe 1 v. Deutsche Bank Aktiengesellschaft, No. 1:22-cv-10018-JSR

     (S.D.N.Y.), Bates stamped JDoe_DBAG_005374, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

7.   Attached as Exhibit 6 is a true and correct copy of a document produced by Jane Doe 1 in

     the related case captioned Doe 1 v. JPMorgan Chase Bank, N.A., No. 1:22-cv-10019-JSR

     (S.D.N.Y.), Bates stamped JDoe_JPMC_008593, designated confidential pursuant to the

     Protective Order in this matter and filed under seal.

8.   Attached as Exhibit 7 is a true and correct copy of a document produced by Jane Doe 1 in

     the related case captioned Doe 1 v. JPMorgan Chase Bank, N.A., No. 1:22-cv-10019-JSR




                                               2
       Case 1:22-cv-10904-JSR Document 226 Filed 07/24/23 Page 3 of 9




      (S.D.N.Y.), Bates stamped JDoe_JPMC_003402, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

9.    Attached as Exhibit 8 is a true and correct copy of a document produced by Jane Doe 1 in

      the related case captioned Doe 1 v. JPMorgan Chase Bank, N.A., No. 1:22-cv-10019-JSR

      (S.D.N.Y.), Bates stamped JDoe_JPMC_003057, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

10.   Attached as Exhibit 9 is a true and correct copy of a document produced by Jane Doe 1 in

      the related case captioned Doe 1 v. JPMorgan Chase Bank, N.A., No. 1:22-cv-10019-JSR

      (S.D.N.Y.), Bates stamped JDoe_JPMC_003010, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

11.   Attached as Exhibit 10 is a true and correct copy of excerpts of the transcript from the

      July 7, 2023 Deposition of Shaun O’Neill, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

12.   Attached as Exhibit 11 is a true and correct copy of a document produced by Jane Doe 1

      in the related case captioned Doe 1 v. JPMorgan Chase Bank, N.A., No. 1:22-cv-10019-

      JSR (S.D.N.Y.), Bates stamped JDoe_JPMC_001314, designated confidential pursuant to

      the Protective Order in this matter and filed under seal.

13.   Attached as Exhibit 12 is a true and correct copy of a document produced by Plaintiff the

      Government of the United States Virgin Islands, Bates stamped VI-JPM-000012200,

      designated confidential pursuant to the Protective Order in this matter and filed under

      seal.




                                                3
       Case 1:22-cv-10904-JSR Document 226 Filed 07/24/23 Page 4 of 9




14.   Attached as Exhibit 13 is a true and correct copy of the May 1, 2009 Complaint and

      Demand For Jury Trial, in the case captioned Jane Doe No. 102 v. Epstein, 09-cv-80656

      (S.D. Fla.).

15.   Attached as Exhibit 14 is a true and correct copy of a document produced by Plaintiff the

      Government of the United States Virgin Islands, Bates stamped VI-JPM-000012205,

      designated confidential pursuant to the Protective Order in this matter and filed under seal.

16.   Attached as Exhibit 15 is a true and correct copy of a document produced by JPMC, Bates

      stamped JPM-SDNYLIT-00127937.

17.   Attached as Exhibit 16 is a true and correct copy of excerpts of the transcript from the July

      13, 2023 Deposition of Carol T. Jacobs, designated confidential pursuant to the Protective

      Order in this matter and filed under seal.

18.   Attached as Exhibit 17 is a true and correct copy of a document produced by Plaintiff the

      Government of the United States Virgin Islands, Bates stamped VI-JPM-000012225,

      designated confidential pursuant to the Protective Order in this matter and filed under seal.

19.   Attached as Exhibit 18 is a true and correct copy of the Complaint and Jury Trial Demand

      in the case captioned Jane Doe 43 v. Epstein et al., 17-cv-00616 (S.D.N.Y.).

20.   Attached as Exhibit 19 is a true and correct copy of a document produced by Plaintiff the

      Government of the United States Virgin Islands, Bates stamped VI-JPM-000079661,

      designated confidential pursuant to the Protective Order in this matter and filed under seal.




                                                   4
       Case 1:22-cv-10904-JSR Document 226 Filed 07/24/23 Page 5 of 9




21.   Attached as Exhibit 20 is a true and correct copy of the transcript of the July 15, 2019

      bail hearing conducted in the case captioned United States v. Epstein, 19-cr-490

      (S.D.N.Y.).

22.   Attached as Exhibit 21 is a true and correct copy of the federal indictment against Jeffrey

      Epstein in the case captioned United States v. Epstein, 19-cr-490 (S.D.N.Y.).

23.   Attached as Exhibit 22 is a true and correct copy of an article titled “Bryan terminates

      Attorney General Denise George,” dated January 1, 2023, available at

      http://www.virginislandsdailynews.com/news/bryan-terminates-attorney-general-denise-

      george/article_0cc24de2-7a57-5715-a100-787a75803304.html.

24.   Attached as Exhibit 23 is a true and correct copy of excerpts of the transcript from the

      May 30, 2023 Deposition of Former Gov. John P. de Jongh, Jr.

25.   Attached as Exhibit 24 is a true and correct copy of excerpts of the transcript from the

      May 24, 2023 Deposition of Former Gov. Kenneth E. Mapp.

26.   Attached as Exhibit 25 is a true and correct copy of excerpts of the transcript from the

      June 6, 2023 Deposition of Gov. Albert Bryan, Jr.

27.   Attached as Exhibit 26 is a true and correct copy of Plaintiff the Government of the

      United States Virgin Islands’ Supplemental Written Responses and Objections to

      Defendant’s Notice of Deposition of The Government of The United States Virgin

      Islands served on the July 3, 2023, contains potentially confidential information pursuant

      to the Protective Order in this matter and filed under seal.

28.   Attached as Exhibit 27 is a true and correct copy of the January 15, 2020 Complaint filed

      in the case captioned Government of the United States Virgin Islands v. Estate of Jeffrey

      E. Epstein, 20-cv-014 (D.V.I.).




                                                5
       Case 1:22-cv-10904-JSR Document 226 Filed 07/24/23 Page 6 of 9




29.   Attached as Exhibit 28 is a true and correct copy of a document produced by Plaintiff the

      Government of the United States Virgin Islands, Bates stamped VI-JPM-000041942,

      designated confidential pursuant to the Protective Order in this matter and filed under

      seal.

30.   Attached as Exhibit 29 is a true and correct copy of an article titled “Exclusive:

      Billionaire Investor Buys Jeffrey Epstein’s Private Islands for $60 Million,” dated May 2,

      2023, available at https://www.forbes.com/sites/richardjchang/2023/05/03/exclusive-

      billionaire-buys-jeffrey-epsteins-private-islands-60-million/?sh=3cd8cf5ca965.

31.   Attached as Exhibit 30 is a true and correct copy of a document produced by Plaintiff the

      Government of the United States Virgin Islands, Bates stamped VI-JPM-000041936,

      designated confidential pursuant to the Protective Order in this matter and filed under

      seal.

32.   Attached as Exhibit 31 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00100251.

33.   Attached as Exhibit 32 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00036596, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

34.   Attached as Exhibit 33 is a true and correct copy of a document produced by the Estate of

      Jeffrey Epstein, Bates stamped Estate_005175, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

35.   Attached as Exhibit 34 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00274527.




                                                6
       Case 1:22-cv-10904-JSR Document 226 Filed 07/24/23 Page 7 of 9




36.   Attached as Exhibit 35 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-00731595.

37.   Attached as Exhibit 36 is a true and correct copy of JPMC’s First Supplemental

      Responses and Objections to Interrogatories in Lieu of Rule 30(b)(6) Deposition

      Testimony served on the April 14, 2023, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

38.   Attached as Exhibit 37 is a true and correct copy of excerpts of the transcript from the

      April 19, 2023 deposition of Philip DeLuca, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

39.   Attached as Exhibit 38 is a true and correct of copy of excerpts of the transcript from the

      May 30, 2023 deposition of Francis Pearn.

40.   Attached as Exhibit 39 is a true and correct copy of excerpts of the June 23, 2023 Expert

      Report of Teresa A. Pesce, designated confidential pursuant to the Protective Order in

      this matter and filed under seal.

41.   Attached as Exhibit 40 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-W-00031038, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

42.   Attached as Exhibit 41 is a true and correct copy of a document produced by the

      Financial Crimes Enforcement Network, Bates stamped FINCEN00000001, designated

      confidential pursuant to the Protective Order in this matter and filed under seal.

43.   Attached as Exhibit 42 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-W-00025790, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.




                                               7
       Case 1:22-cv-10904-JSR Document 226 Filed 07/24/23 Page 8 of 9




44.   Attached as Exhibit 43 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-W-00025792, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

45.   Attached as Exhibit 44 is a true and correct copy of a document produced by JPMC,

      Bates stamped SDNYLIT-W-00025791, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

46.   Attached as Exhibit 45 is a true and correct copy of a document produced by JPMC,

      Bates stamped, JPM-SDNYLIT-W-00021932, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

47.   Attached as Exhibit 46 is a true and correct copy of a document produced by JPMC,

      Bates stamped, JPM-SDNYLIT-W-00019086, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

48.   Attached as Exhibit 47 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-W-00018180, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

49.   Attached as Exhibit 48 is a true and correct copy of a document produced by JPMC,

      Bates stamped JPM-SDNYLIT-W-00002185, designated confidential pursuant to the

      Protective Order in this matter and filed under seal.

50.   Attached as Exhibit 49 is a true and correct copy of Plaintiff Government of The United

      States Virgin Islands’ Third Supplemental Objections and Responses to JPMorgan Chase

      Bank, N.A.’s First Set of Interrogatories, served on July 19, 2023.




                                               8
       Case 1:22-cv-10904-JSR Document 226 Filed 07/24/23 Page 9 of 9




51.   Attached as Exhibit 50 is a true and correct copy of excerpts of the June 16, 2023 Expert

      Report of Bridgette Carr, designated confidential pursuant to the Protective Order in this

      matter and filed under seal.

52.   Attached as Exhibit 51 is a true and correct copy of the transcript from the June 26, 2023

      Hearing in the related case captioned Doe 1 v. JPMorgan Chase Bank, N.A., 1:22-cv-

      10019-JSR (S.D.N.Y.).

53.   Attached as Exhibit 52 is a true and correct copy of excerpts of the June 16, 2023 Expert

      Report of Jonathan J. Rusch, designated confidential pursuant to the Protective Order in

      this matter and filed under seal.

54.   Attached as Exhibit 53 is a true and correct copy of excerpts of the June 16, 2023 Expert

      Report of Robert Jackson, designated confidential pursuant to the Protective Order in this

      matter and filed under seal.

      Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

      and correct.

Dated: July 24, 2023                            /s/ Felicia Ellsworth

                                                Felicia H. Ellsworth




                                               9
